              Case 2:02-cr-00004-PMP-PAL                  Document 251            Filed 01/12/11          Page 1 of 1

PROB 22                                                                                           DOCKET NUMBER (Tran. Court)
(Rev. 2/88)
                                                                                                  2:02-cr-004-PM P-PAL
                         TRANSFER OF JURISDICTION
                                                                                                  DOCKET NUMBER (Rec. Court)




NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE               DISTRICT                        DIVISION

Daniel England                                                    NEVADA                          U.S. Probation Office
W estern District of Michigan
                                                                  NAME OF SENTENCING JUDGE

                                                                  Philip M. Pro

                                                                  D ATES O F                      FRO M             TO
                                                                  PRO BATIO N /SU PERVISED        06/09/09          06/08/13
                                                                  RELEASE:

OFFENSE

18 USC 1344 Bank Fraud
18 USC 371 Conspiracy (to Commit Bank Fraud)




PART 1 - ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA

      IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or
supervised releasee named above be transferred with the records of the Court to the United States District Court
for the Western District of Michigan upon that Court's order of acceptance of jurisdiction. This Court hereby
expressly consents that the period of probation or supervised release may be changed by the District Court to
which this transfer is made without further inquiry of this court.*




          January 12, 2011

              Date                                                                United States District Judge
*This sentence may be deleted in the discretion of the transferring Court.

PART 2 - ORDER ACCEPTING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE W ESTERN DISTRICT OF MICHIGAN

      IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be
accepted and assumed by this Court from and after the entry of this order.




           Effective Date                                                         United States District Judge
